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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

     PRINCETON DIGITAL IMAGE
     CORPORATION,

                           Plaintiff,
                                                       C.A. No. 12-1461 (LPS) (CJB)
                           v.

     KONAMI DIGITAL ENTERTAINMENT INC.,
     HARMONIX MUSIC SYSTEMS, INC. and
     ELECTRONIC ARTS, INC.,

                           Defendants.


     PRINCETON DIGITAL IMAGE
     CORPORATION,

                           Plaintiff,
                                                       C.A. No. 13-0335 (LPS) (CJB)
                           v.

     UBISOFT ENTERTAINMENT SA and
     UBISOFT, INC.,

                           Defendants.

                          JOINT MOTION TO MODIFY SCHEDULE

         Plaintiff Princeton Digital Image Corporation (“PDI”) and Defendants Konami Digital

  Entertainment, Inc. (“Konami”), Harmonix Music Systems, Inc. (“Harmonix”), Electronic Arts,

  Inc. (“EA”), and Ubisoft, Inc. (“Ubisoft”) respectfully move this Court to amend the current

  Scheduling Order (D.I. 272 in Case No. 1:12-cv-01461, D.I. 189 in Case No. 1:13-cv-00335, so

  ordered on April 3, 2018).

         In an effort to resolve a discovery dispute between PDI and Konami, Konami’s Japanese

  affiliate, Konami Digital Entertainment Co., Ltd. (“Konami Japan”), has agreed to produce any

  core technical documents that it could locate related to the accused Dance Dance Revolution


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  series of games. Konami Japan has been working to compile the materials and intends to

  produce them on or before July 20, 2018. In view of the additional production, PDI’s technical

  experts, Mr. Scott Andrews and Mr. Omid Kia, intend to supplement their expert reports on

  infringement relating to Konami, and Konami’s technical expert, Dr. Craig Rosenberg, intends to

  supplement his rebuttal report.

         In view of this supplementing of discovery and expert reports, and in an effort to preserve

  the resources of the parties and of this Court, the parties propose to extend the period for expert

  discovery to allow the depositions of these experts to occur after the supplementation is

  complete, and to adjust the schedule for case dispositive motions to occur after the close of

  expert discovery. The parties have scheduled expert depositions for the following dates: Dr.

  Chandrijit Bajaj (July 20), Mr. Todd Schoettelkotte (July 23), Mr. David Yurkerwich (July 31),

  Mr. Omid Kia (August 29), Mr. Scott Andrews (August 30 and 31), and Dr. Craig Rosenberg

  (September 5).

         The parties’ proposed schedule is provided in the attached Proposed Scheduling Order.

  The proposed schedule does not propose any change to the November 9, 2018 date for the

  hearing on case dispositive motions, or any dates thereafter, including the date for trial.




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  Dated: July 13, 2018                  Entertainment Inc.; Harmonix Music Systems,
                                        Inc.; Electronic Arts, Inc.; and Ubisoft, Inc.




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